        Case 7:17-cv-00969-LSC Document 18 Filed 10/13/17 Page 1 of 1                     FILED
                                                                                 2017 Oct-13 PM 03:19
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                         WESTERN DIVISION

VALERIE BETHUNE,                          )
                                          )
             Plaintiff,                   )
v.                                        )              7:17-cv-00969-LSC
                                          )
MERCEDES-BENZ U.S.                        )
INTERNATIONAL, INC.,                      )
                                          )
             Defendant.
                                          )


                                     ORDER

      This Court acknowledges receipt of the parties’ Joint Stipulation of

Dismissal with Prejudice (Doc. 17) filed on October 10, 2017. Accordingly, the case

is DISMISSED WITH PREJUDICE and costs are taxed as paid.

      DONE and ORDERED on October 13, 2017.


                                               _____________________________
                                                       L. Scott Coogler
                                                  United States District Judge
                                                                                 190685




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